8:08-cr-00007-LSC-MDN               Doc # 72   Filed: 10/15/08     Page 1 of 1 - Page ID # 356




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )
                       Plaintiff,                 )
                                                  )
       vs.                                        )                   8:08CR7
                                                  )
TERRI BURTTON,                                    )                    ORDER
                                                  )
                       Defendant.                 )


       For good cause shown,

       IT IS ORDERED that the government's unopposed motion to continue trial (Doc. 71) is
granted, as follows:

       1.    The jury trial now set for Tuesday, October 21, 2008 is continued to Tuesday, January
6, 2009.

          2. In accordance with 18 U.S.C. § 3161(h)(8)(A), the court finds that the ends of justice
will be served by granting this continuance and outweigh the interests of the public and the
defendant in a speedy trial. Any additional time arising as a result of the granting of this motion,
that is, the time between October 21, 2008 and January 6, 2009, shall be deemed excludable time
in any computation of time under the requirement of the Speedy Trial Act because counsel require
additional time to adequately prepare the case, taking into consideration due diligence of counsel
and the novelty and complexity of this case. The failure to grant additional time might result in a
miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B)(iv).

       DATED October 15, 2008.

                                               BY THE COURT:

                                               s/ F.A. Gossett
                                               United States Magistrate Judge
